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                              U N ITE D STA TES D ISTR ICT CO U R T
                              SO UTH ERN DISTW CT O F FLO RIDA
                                CA SE N O .18-CR -20685-W lLLIA M S


   U NITED STA TES O F A M ERICA

   VS.

   ABRAHAM EDG ARDO O RTEGA,

          D efendant.



                                       FA C TUA L PRO FFE R

          The United StatesofA m erica and A braham Edgardo O RTEG A stipulate and agree thatif

   this m atter were to proceed to tlial, the Govelmm ent w ould prove the stated facts beyond a

   reasonable doubt that O RTEGA is guilty of violating Count 1 of the Superseding lnform ation,

   Conspiracy to Com m it M oney Laundering in violation of Title 18,U nited States Code,Section

   1956(h).
                              1. C orruptCurrency Exchange Schem es

           1.      A t al1relevant tim es,V enezuela had a foreign-currency exchange system under

   which thegovernmentwould exchangelocalcurrency (Bolivars)atatixedrateforU.S.Dollars.
   The fixed exchange rate had been w ellbelow the true econom ic rate by a substantial factor for

   severalyears.

          2.       Forexam ple,in 2014,an individualcould exchange 10 m illion U .S.D ollarsfor600

   m illion in V enezuelan Bolivarsatthetrue econom icrate.Then,ifthatindividualhad accessto the

   governm ent tixed rate,he could convertthat sam e 600 m illion Bolivars into 100 m illion U .S.

   Dollars.Essentially,in tw o transactions,thatperson could buy 100 m illion U .S.D ollars for 10

   m illion U .S.D ollars.
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          3.      The difference between the fixed rate and the true econom ic rate created

   opportunity for fraud and abuse,enabling V enezuelan ofticials to engage in foreign currency

   exchange schem es in retulm forbribesand kickbacks.

                  These corrupt foreign currency exchange schem es occurred w ith significant

   frequency w ithin the V enezuelan state-ow ned oil com pany, Petrôleos de V enezuela,

   (PDVSA).PDVSA isVenezuela'sprimarysourceofincomeand foreigncurrency(namely,U.S.
   Dollarsand Euros),and served asthesource offoreign currency used to fund com zptforeign
   exchange em bezzlem entschem es.

                 O RTEGA and others conspired to launder and engage in m onetary transactions

   with the proceeds ofcorruptcurrency exchange schem es involving PD V SA .

                                      II.PD V SA Bribery Schem es

                   From A ugust 2004 through M arch 2016,OR TEG A w orked in various finance

  positions w ithin PDV SA . From January 2014 through M arch 2016,O RTEGA w as Executive

   Director ofFinancialPlanning atPDV SA . A tal1tim es during this conspiracy,ORTEG A w as a

   ttforeign ofticial''as thatterm isdefined in the FCPA .

               A .O RTEGA A greesto A ccept5 M illion U .S.DollarBlibe Pavm entfor
                             CornzptPD V SA Joint-v enture Schem e

                 lnorabout2006to2007,Venezuelaestablishedpartnershipscalledtjointventures''
  between PDVSA and foreign companies/foreign banks. ln general,forty percentofthejoint
   venturew asow ned by aprivate com pany,referred to asthem inority shareholder,and sixtypercent

   ofthejointventurewasownedbyPDVSA.CompanyA,aEuropeanoi1company,wasaminority
   shareholder in Joint Venture A . Com pany B, a Russian financial institution, w as a m inority

   shareholderin JointV enture B .
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          8.      Follow ing the 2008 financial crisis, PD V SA began to control the m inolity

   shareholders'cash flow in such a way thatm ade itdifficultforthe m inority shareholdersto receive

   thepaymentsnecessary toproperly fund and maintain thejointventures'operations. PDVSA
   offered a solution:am inority shareholdercould enterinto an agreem entw ith PDV SA ,underw hich

   theminorityshareholderwouldloanthejointventurethemoneyneededtoresumeoperationsand,
   in return,PDV SA w ould perm itthe m inority shareholder to regain control ofits cash tlow . A s

   part of this solution, PDV SA agreed to pay the outstanding m onies owed to the m inority

   shareholder,consented to the m inority shareholder entering into this loan agreem ent,and w ould

   assign any fm ure invoice paym entsto an accountthatguaranteed both paym entofthose invoices

   and the loan to the m inolity shareholder. PD V SA , how ever,had a lim ited num ber of these

   agreem ents. A m inority shareholder needed to have ftpriority'' status to obtain one of these

   agreem ents.

                  ORTEGA participatedin abriberyscheme(the''Joint-venture Scheme'')in which
   ORTEGA received a total of 5 m illion U .S. Dollars in exchange for acts and decisions in his

   official capacity to give both Com pany A and Com pany B ççpriority'' status for this type of

   agreem ent.

          10. From inorabout2014through2015,ORTEGA,Conspirator3(astherepresentative
   ofConspirator 1),Subject1(acitizen ofthe United Statesandakfdomesticconcern''within the
   meaning oftheFCPA),Subject2,Subject3,and Venezuelan Ofticial4 (attforeign official''as
   thatterm isdefined in theFCPA)attended severalmeetingsin Caracas,Venezuelato discuss
   accepting bribes from Com pany A .

          11. Conspirator 3 and others conspired to pay ORTEGA 3 m illion U .S. Dollars in

   exchange for O RTEG A 'S decision to give ççpriority'' status for Com pany A . Specifically,
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   ORTEGA agreed to accept 3 m illion U .S. D ollars from Conspirator 3 for ORTEGA 'S

   recom m endation to the PD V SA Board ofD irectorsthatCom pany A be given ttpliority''status.

          12. In orabout2014,ORTEGA m etw ith Francisco ConvitG uruceaga,who represented

   Com pany B's interests. OR TEG A and Convitm et in a private room in a building in Caracas.

   They m etin a private room because they w ere discussing illegalbribes. O RTEG A and Convit

   agreed that Convit w ould pay O RTEG A 2 m illion U .S.D ollars in exchange for O RTEG A 'S

   decision to give ççpriority''status for Com pany B. Specifically, ORTEG A agreed to accept 2

   m illion U .S. Dollars from Convit for O RTEGA 'S recom m endation to the PD V SA Board of

   D irectors thatCom pany B be given EEpriority''status. Convittold ORTEG A that Convitw ould

   give2million U.S.Dollarstoaconfidentialsource(CS)forpaymenttoORTEGA. Venezuelan
   O fficial4 also received bribe paym entsin exchange forfacilitating assistance in these schem es.

                B. O RTEGA A greesto A ccept10 M illion U .S.D ollar Bribe Pavm entfor
                       CorruptPDV SA Loan Schem e w ith Com panies C and D

          13. Inorabout2012,ORTEGA,VenezuelanOfticial1(aGçforeignofficial''asthatterms
   isdefinedin theFCPA),Subject4,Subject5,and Venezuelan Official5 (attforeignofticial''as
   thatterm isdetined in the FCPA)conspired to execute a corruptcurrency exchange scheme
   involving bribes to PDVSA officials,including ORTEGA and Venezuelan Official 5 (the
   CompaniesC-D Loan Scheme).
          l4.     A s partof this schem e,Com pany C agreed to loan PD V SA approxim ately 17.4

  billion Bolivars in m ultiple tranches. U nder this contract, PD V SA w ould repay the loan to

   Com pany C in U .S.D ollars in an am ountequivalentto the 'tloaned''V enezuelan Bolivars atthe

   V enezuelan governm ent'sfixed exchange rate. Afteritw as determ ined thatCom pany C w asnot

   reputableenoughtosigntheûûloan''contractwith PDVSA,Subject5foundasuitableVenezuelan
   entity,CompanyD,to enterintothePDVSA loan contract.Subject5thenpaid CompanyD 10

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   m illion U .S.Dollarsto assign Com pany D 's rights under the 6çloan''contractto Com pany C. A s

   partofthisscheme,ORTEGA received 10millionU.S.Dollarsasabribepaymentfrom Subjed
   4 to ensure ORTEGA 'S cooperation,w hich w ould allow PD V SA to repay the ''loan''in U .S.

   D ollarsin accordance w ith the contract.

                       C . V enezuelan O fficial1 A ccepts Bribe Paym entfor
                 CornmtPDVSA Loan Schem ewith RantorCapitaland Eaton Global

          l5. OnDecember17,2014,RantorCapitalC.A.(Rantor),aVenezuelanshellcompany,
   executed a contractwith PDV SA in w hich Rantoragreed to ççloan''7.2 billion V enezuelan Bolivars

   to PDV SA . The tçloan''contract w as executed by V enezuelan O fficial 1 as V ice President of

   PDVSA.Venezuelan Official1wasaç%foreign official''asthatterm isdefined in theFCPA.

                 On Decem ber23,2014,an assignm entcontractw as executed betw een Rantorand

   EatonGlobal(Eaton),inwhich RantorassigneditsrightsasPDVSA'Screditorundertheççloan''
   contractto Eaton and in w hich itw as contem plated thatPDV SA w asgiven the rightto cancelthe

   debtw ithin 180 daysby paying 600 m illion U .S.Dollars.

          17.    OnDecember23,2014,EatonsentanoticeofassignmenttoPDVSA (Venezuelan
   Ofticial1)andsuggestedthatPDVSA repaythe7.2billion BolivarloanintheEuro equivalentof
   600 m illion U .S. D ollars. The letter included instructions for PD V SA to w ire the funds to

   European FinancialInstitution 1 accounts forthe benetitofEaton.

          18.    ln short,Eaton,a com pany controlled by m em bersofthe conspiracy,ended up w ith

   therighttopayPDVSA about7.2billion Bolivars(worth around 35million Euros)and receive
   about510millionEuros(the'tEaton-lkantorLoan Scheme').
                 V enezuelan O fficial 1,and others,took acts and m ade decisions in their official

   capacity to facilitate the Eaton-RantorLoan Schem e in exchange forreceiving kickbacksfrom the

   proceeds. Forexam ple,m em bers ofthe conspiracy gave cash kickbacksto V enezuelan O fticial1
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   in exchange for V enezuelan O fficial l's acts in signing the loan contractin his capacity as V ice

   PresidentofPD V SA . Thebribery ofV enezuelan O fticial1 violated notonly V enezuelan law ,but

   also theFCPA because oneorm orem em bersoftheconspiracy engaged in corruptactsfrom w ithin

   the territory ofthe United States. Convitsentand received BlackBerry M essengerchats from the

   United Statesto arrange forthepaym entofthe PD V SA fundsto theC S,w hich caused thepaym ent

   ofthe bribesfrom the CS to V enezuelan O fticial1. A tal1relevanttim es:

                         Em bezzlem entof public funds by a public officialand bribery of a public

         officialw as an offense againstthe nation ofV enezuela,underm ore than one provision of

         Venezuelan law .

                  b.     The corruptuse of facilitiesof interstate com m erce or any other act,while

         in thetenitory ofthe United States,to furtherapaym entorprom ise ofapaym entto a foreign

         officialforthepurpose ofinfluencing orinducing thatofficialto act,wasa felony violation

         ofthe FCPA .

                  A ccordingly, the proceeds of the Eaton-Rantor Loan Schem e, as w ell as the

   kickbacks and bribe paym ents m ade to the conspirators,w ere the proceedsofspecified unlaw ful

   activityasdefinedinTitle l8,United StatesCode,Section 1956(c)(7).
          21.     Them em bersofthe conspiracy agreed to splitthe netproceedsofthe Eaton-Rantor

   Loan Schem e asfollow s:

                  a.     227 million Euros went to the ççBolichicos'' or ttBoli'' (Convit and
          ttconspirator2'').and
                  b.     227 m illion Eurosw entto ççconspirator 7.5*

          22.     From there,them em bersoftheconspiracy agreed to furtherdistributetheproceeds,

   forinstance'
              .



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                   a.     The çkBolichicos''routed approxim ately 78 m illion Euros to a CS,w ho w as

          instnzcted to deliverthe fundsto O RTEG A ,Carm elo U rdaneta Aqui,Conspirators 1 and

          3,and Venezuelan Official 1,
                                     'and

                   b.     tf onspirator 7'' routed approxim ately l59 m illion Euros to three

          individuals known as Gçlaos Cham os,''the stepsonsofçtvenezuelan O fficial2,99w ho was a

          'Gforeign official''asthatterm isdefined in the FCPA .

            111.     Schem e to L aunder the Proceedsofthe C orruptPD V SA Schem es

          23.      O RTEG A ,H enzandez Frieri,Convit,G utierrez,and others conspired to launder a

   totalofapproxim ately 12 m illion U .S.D ollars thatw ere given to ORTEG A asbribe paym entsin

   exchange forO RTEGA 'S corruptacts and decisionsin his officialcapacity asExecutive Director

   ofFinancialPlanning atPD V SA .

              A . Schem e to LaunderO RTEGA 'S 5 M illion U .S.Dollar Bribe Proceeds
         Related to the Joint-v enture Schem e and Derived From Eaton-Rantor Loan Schem e

          24.      In orderto facilitate the bribe paym entto O RTEG A forthe Joint-venture Schem e,

   Conspirators 1 and 3 told the CS to assign to O RTEGA 5 m illion U .S.Dollarsfrom Conspirators

   1 and 3's share ofthe 78 m illion Euros in proceeds from the Eaton-RantorLoan Schem e. To this

   end,in A pril 2016, O RTEG A , Hernandez Frieri, and the CS m et in Panam a to discuss how

   H ernandez Frieriw ould concealordisguise the source ofO RTEGA 'S 5 m illion U .S.D ollarbribe

   paym entso thatO RTEG A 'S fundsw ould appearto have been legitim ately acquired. Hernandez

   Frieliexplained thathisbrokerage firm ,which is headquartered in M iam i,Florida,operatesin the

   U nited Statesand Latin A m erica,and has a fake m utualfund. H ernandez Frieriexplained thatthe

   m utualftznd receivesm oney m adeto look like investm ents,and then launderssuch paym entsout

   ofthe fund.
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          25.      On February 21,2017,Hem andez Friel'iem ailed the CS subscription instnzctions

   and a subscription agreem entforthe fake fund,G lobalSecuritiesTrade Finance,aC aym an Islands

   entity. On February 24,2017,the CS instructed Deltec Bank & Trust Lim ited in N assau,The

   Bahamas(whereaportionofORTEGA'Sillicitftmdswerethenheld)tosubscribetothefund.On
   or aboutFebruary 28,2017,atthe direction ofO RTEGA and H em andez Frieri,approxim ately 5

   m illion U .S.D ollarsw astransferred from account/portfolio num berxxxx3311-00 atD eltec Bank

   & TnlstLimitedinNassau,TheBahamas(whereaportionofORTEGA'Sillicitfundswerethen
   held)toaccotmtnumberxxxx6054 atU.S.FinancialInstitution 1in New Jersey in thenameof
   G lobal Securities Trade Finance.On M arch 14,2017,the 5 m illion U .S.Dollars w ere further

   transferred to account num ber xxxx2421 at U .S.Financial lnstitution 1 in the nam e of Global

   SeculitiesTrade Finance. The fake subscription in G lobalSecuritiesTrade Finance wasdeposited

   at Deltec Barlk, thus m aking the 5 m illion U .S. D ollars available to H ernandez Frieri for

   distribution to O RTEG A .

          26.     ln exchange forthe CS'sassistance,Hernandez Frieri,w ith O RTEGA 'Sagreem ent,

   transferred 396,000 U .S.Dollars to the CS using a fake loan contractbetw een G lobalSecurities

   TradeFinanceand an undercovershellcompany tojustify the G6fee.'' An additional4,000 U.S.
   D ollars w as transferred to a bank accountin M iam i,Florida,held by a com pany associated with

   H ernandez Frierias a l-percentstructuring çtfee.''

                B . Schem e to Launder ORTEGA 'S 7 M illion U .S.D ollarBribe Proceeds
                              Related to the Com panies B-C Loan Schem e

                  O RTEGA conspired w ith H ernandez Frierito launder 7 m illion ofthe 10 m illion

   U .S.D ollarsthatO RTEG A received asa bribe paym entforhisparticipation in the Com paniesC-

   D Loan Schem e.A tal1relevanttim es,H ernandez Frieriknew thatthe 7 m illion U .S.D ollarsw ere

   crim inally derived proceeds.

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          28.     The C S m anaged O RTEGA 'S 7 m illion U .S.D ollarbribe paym entafterthe funds

   were deposited into an accountat Banca Zarattini& Co.SA (Banca Zarattini) in Lugano,
   Sw itzerland. H ernandez Frieri directed that the 7 m illion U .S. Dollars be transferred to U .S.

   FinancialInstitution 1 in N ew Jersey. A tthe direction ofO RTEG A and H ernandez Frieri,the C S

   transferred 7 m illion U .S.D ollars to accountnum berxxxx5724 atU .S.FinancialInstitution l in

   the nam e of Global Securities Trade Finance in order to subscribe to G lobal Securities Trade

   Finance securities,which w ere then deposited into account/portfolio num ber xxxx9020 atBanca

   Zarattiniin the nam e ofBig Green V alley SA .

          29. Tojustifythetransactionsthatwouldallow ORTEGA accessto someoftheillicit
   7 m illion U .S.D ollars,H ernandez Frieri created fake contracts betw een a British V irgin Islands

   com pany controlled by O RTEGA ,GreatW allsFS,and acom pany controlled by H em andez Frieri.

   H em andez Frierialso created fake contractsw ith individualsw ell-known to O RTEG A in orderto

  justifytransactionsthatwouldallow ORTEGA toaccesssomeofthe$7millionU.S.Dollarfunds.
   H ernandez Frieriassisted O RTEGA in opening an accountatU .S.Financiallnstitution 2 in Puerto

   Rico forthe purpose oflaundering the 7 m illion U .S.D ollars. Hernandez Frieritold O RTEGA

   that H ernandez Frieri had influence at U .S.Financial Institution 2. W hen the account at U .S.

   FinancialInstitution 2 w as closed,H elmandez Frieriassisted O RTEG A in opening an accountin

   the Baham as,and transferring the balance ofO RTEGA 'S funds atU .S.Financiallnstitution 2 to

   thataccount. Funds w ere transferred into these accounts for the benefit ofO RTEGA from bank

   accountsin the Southem DistrictofFlorida held by com panies associated w ith Hernandez Frieri.




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                                            W . C ON CLUSIO N

            30.     D lzring a1lrelevant tim es,ORTEGA lcnew thathe wmsparticipating in an illegal

     m oney latmdeling conspiracy and that the ftmds he soughtto conceal and transact in were the

     proceedsofcrim inalactivity and foreign bribery in partiotllar.



                                                          ARJAN A FA JA RD O ORSH AN
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